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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


  Southern
 ____________________              New York
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                             Aerolinhas Brasileiras S.A.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                9 ___
                                              ___ 8 –0___ 1___ 7___ 7   5 ___
                                                                    ___ ___ 7 ___
                                                                               9
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  Aeroporto Internacional de Viracopos
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                Rodovia Santos Dumont, Km 66, sistema viário principal, s/ nº _______________________________________________
                                              ______________________________________________
                                                                                                          P.O. Box
                                                   Campinas, SP, CP 13052-970
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                Brazil
                                              ______________________________________________
                                              Country                                                     _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                    www.latam.com
                                              ____________________________________________________________________________________________________




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Debtor          Aerolinhas Brasileiras S.A.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                            A. Check one:
 7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                            B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 4 ___
                                               ___  8 ___
                                                       1 ___
                                                          1

 8.   Under which chapter of the            Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                             11 U.S.C. § 1116(1)(B).
      check the second sub-box.                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             Chapter 12




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Debtor           Aerolinhas Brasileiras S.A.
                _______________________________________________________                       Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases          No
       filed by or against the debtor
       within the last 8 years?             Yes.    District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY

 10.   Are any bankruptcy cases             No
       pending or being filed by a
                                            Yes.            LATAM Airlines Group, et al.
                                                     Debtor _____________________________________________                 Affiliate
                                                                                                          Relationship _________________________
       business partner or an
       affiliate of the debtor?                                Southern District of New York
                                                     District _____________________________________________ When                05/26/2020
                                                                                                                               __________________
       List all cases. If more than 1,                                                                                         MM / DD / YYYY
       attach a separate list.                                              20-11254
                                                     Case number, if known ________________________________



 11.   Why is the case filed in this       Check all that apply:
       district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have          No
       possession of any real               Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                       Other _______________________________________________________________________________



                                                    Where is the property?_____________________________________________________________________
                                                                              Number          Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________         _______ ________________
                                                                              City                                            State ZIP Code


                                                    Is the property insured?
                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________

                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




               Statistical and administrative information




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Debtor            Aerolinhas Brasileiras S.A.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name




 13.   Debtor’s estimation of             Check one:
       available funds                       Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                             1-49                                1,000-5,000                              25,001-50,000
 14.   Estimated number of                   50-99                               5,001-10,000                             50,001-100,000
       creditors
                                             100-199                             10,001-25,000                            More than 100,000
       (on a consolidated basis)             200-999

                                             $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15.   Estimated assets                      $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
       (on a consolidated basis)             $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                             $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
       (on a consolidated basis)             $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



               Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                              petition.
       debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.




                                              Rata
                                          I declare under penalty of perjury that the foregoing is true and correct.

                                                          07/09/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                              _____________________________________________                Ramiro Alfonsín Balza
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                     Authorized Signatory
                                             Title _________________________________________




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Debtor          Aerolinhas Brasileiras S.A.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Luke A. Barefoot
                                            _____________________________________________            Date         07/09/2020
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                             Luke A. Barefoot
                                           _________________________________________________________________________________________________
                                           Printed name
                                             Cleary Gottlieb Steen & Hamilton LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                             One Liberty Plaza
                                           _________________________________________________________________________________________________
                                           Number     Street
                                              New York
                                           ____________________________________________________              NY
                                                                                                           ____________   10006
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                              (212) 225-2829
                                           ____________________________________                              lbarefoot@cgsh.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            4298089
                                           ______________________________________________________    NY
                                                                                                  ____________
                                           Bar number                                             State




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                              Chapter 11

Aerolinhas Brasileiras S.A.,                       Case No.: 20-(___)

                         Debtor.                   Joint Administration Pending



               CORPORATE OWNERSHIP STATEMENT PURSUANT
        TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

               Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the following are corporations, other than a governmental unit, that directly or

indirectly own 10% or more of any class of the Debtor’s equity interests:


                                                Approximate Percentage of Equity Interest
                 Shareholder
                                                                 Held
 TAM S.A.                                     100%

 Holdco I S.A.                                Holds 36.91% of the equity interest of TAM S.A.


 LATAM Airlines Group S.A.                    Holds 63.09% of the equity interest of TAM S.A.


 Delta Air Lines, Inc.                        Holds 19.99% of the equity interest of LATAM
                                              Airlines Group S.A.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                              Chapter 11

LATAM Airlines Group, et al.,                      Case No.: 20-11254

                          Debtors.1                Jointly Administered/Joint Administration Pending




                           CONSOLIDATED LIST OF CREDITORS
                         HOLDING FIVE LARGEST SECURED CLAIMS

                 The following is a list of those creditors holding the five largest secured claims

against the Debtors, on a consolidated basis, as of July 8, 2020. This list has been prepared from

the books and records of the Debtors for filing in the Debtors’ chapter 11 case.

                 The information set forth herein shall not constitute an admission of liability by,

nor is binding on, the Debtors, nor shall it bind the Debtors or their estates as to the amount,

nature and status of any claim. The failure to list or designate any claim as contingent, disputed




1
          The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s U.S. or local tax
identification number (as applicable), are: LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (98-
0058786); Transporte Aéreo S.A. (XX-XXXXXXX); Inversiones Lan S.A. (XX-XXXXXXX); Technical Training LATAM
S.A. (96-847880K); LATAM Travel Chile II S.A. (XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast Air
Almacenes de Carga S.A. (XX-XXXXXXX); Línea Aérea Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de
Integración Regional S.A. (XX-XXXXXXX); LATAM Finance Ltd. (N/A); LATAM Airlines Ecuador S.A. (XX-XXXXXXX);
Professional Airline Cargo Services, LLC (XX-XXXXXXX); Cargo Handling Airport Services, LLC (XX-XXXXXXX);
Maintenance Service Experts, LLC (XX-XXXXXXX); Lan Cargo Repair Station LLC (XX-XXXXXXX); Prime Airport
Services Inc. (XX-XXXXXXX); Professional Airline Maintenance Services LLC (XX-XXXXXXX); Connecta Corporation
(XX-XXXXXXX); Peuco Finance Ltd. (N/A); Latam Airlines Perú S.A. (XX-XXXXXXX); Inversiones Aéreas S.A. (N/A);
Holdco Colombia II SpA (XX-XXXXXXX); Holdco Colombia I SpA (XX-XXXXXXX); Holdco Ecuador S.A. (XX-XXXXXXX);
Lan Cargo Inversiones S.A. (XX-XXXXXXX); Lan Cargo Overseas Ltd. (XX-XXXXXXX); Mas Investment Ltd. (85-
7753009); Professional Airlines Services Inc. (XX-XXXXXXX); Piquero Leasing Limited (N/A); TAM S.A. (N/A); TAM
Linhas Aéreas S.A. (XX-XXXXXXX); Aerolinhas Brasileiras S.A. (XX-XXXXXXX); Prismah Fidelidade Ltda. (N/A);
Fidelidade Viagens e Turismo S.A. (XX-XXXXXXX); TP Franchising Ltda. (N/A); Holdco I S.A. (XX-XXXXXXX) and
Multiplus Corredora de Seguros Ltda. (N/A). For the purpose of these Chapter 11 Cases, the service address for the
Debtors is: 6500 NW 22nd Street Miami, FL 33131.
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or subject to set off, recharacterization or other challenge shall not be a waiver of any of the

Debtors’ rights or defenses relating thereto.


                                                                                        General
           Creditor/Address                   Claim Amount          Debt Type         Description
                                                                                      of Collateral
  Citibank, N.A., Loan Administration
  1615 Brett Road, OPS 3
                                                                                      26 Planes, 15
  New Castle, DE 19720
                                                                  Revolving Loan      Engines and
  United States                                  $600,000,000     Agreement           certain spare
  Michael Leonard
                                                                                      parts
  PHONE: +1 (212) 816-5233
  michael.leonard@citi.com
  BNP Paribas
  787 Seventh Avenue, New York, NY 10019,
  United States of America
  Attn: Ahsan Avais
  (Ahsan.AVAIS@us.bnpparibas.com)
  Office: +1 212-471-7089
  Mobile: +1 781-244-7316
                                                                  Aircraft Loan
                                                 $300,289,939                         3 A350s
                                                                  Agreement
  Investec Bank PLC
  2 Gresham Street, London EC2V 7QP,
  United Kingdom
  Attn: James Paterson
  (james.paterson@investec.co.uk)
  T: +44 (0) 20 7597 3679
  M: +44 (0) 7785 252 427
  Credit Agricole Corporate and Investment
  Bank
  Credit Agricole Building
  1301 Avenue of the Americas
  SFI Agency & Middle Office, 20th Floor                          Engine Loan
  New York, NY 10019-6022                        $273,198,686     Facility            41 Engines
  Attn: Justine Ventrelli / Claire Vacca
  Telephone: +1 (212) 261-7886 / + 1 (212)
  261-3382
  Facsimile: +1 (917) 849-5054
  Natixis
  30, avenue Pierre Mendes France - 75013
  Paris
  BP 4 75060 Paris Cedex 02                                       Aircraft Loan
  542 044 524 RCS Paris                          $241,841,364     Agreement           9 A321s
  Attn: Andrew Young Okana Nsiawi
  PHONE: +33 (0) 1 58 32 38 36
  EMAIL: andrew.okana@natixis.com
  JP Morgan
  25 Bank Street, Canary Wharf, London E14
                                                                                      1 A321, 11
  5JP, United Kingdom                            $209,235,830     Secured Notes
  Attn: Lindsay J Cane                                                                A320s
  (lindsay.j.cane@jpmchase.com)




                                                   2
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 Fill in this information to identify the case and this filing:


               Aerolinhas Brasileiras S.A.
 Debtor Name __________________________________________________________________
                                           Southern
 United States Bankruptcy Court for the: ______________________              New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


              Other document that requires a
                                              Corporate Ownership Statement; Top 5 Secured Creditors List




                                                                       RAT
              declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    07/09/2020
        Executed on ______________                             _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Ramiro Alfonsín Balza
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
  Debtor name: LATAM Airlines Group S.A., et al.
  United States Bankruptcy Court for the Southern District of New York                                                                                                                              Check if this is an amended filing
  Case number (if known): 20‐11254



Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                                                                                                           12/15

A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an
insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

Name of creditor and complete mailing address,                 Name, telephone number, and email address of             Nature of the claim(for        Indicate if   Amount of unsecured claim
including zip code                                             creditor contact                                      example, trade debts, bank         claim is     If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                     loans, professional services,    contingent,    amount. If claim is partially secured, fill in total claim amount
                                                                                                                      and government contracts)      unliquidated,   and deduction for value of collateral or setoff to calculate
                                                                                                                                                      or disputed
                                                                                                                                                                                                      Deduction for
                                                                                                                                                                        Total claim, if partially        value of                Unsecured
                                                                                                                                                                                secured                collateral or               Claim
                                                                                                                                                                                                          setoff
          LATAM 2026 Notes
                                                               LATAM 2026 Notes
          Attn: Peter Lopez
                                                               Attn: Peter Lopez
          Bank of New York Mellon, as Trustee
1                                                              PHONE: 212‐815‐8273
          240 Greenwich Street
                                                               FAX:
          7E
                                                               EMAIL: peter.lopez@bnymellon.com                    UNSECURED NOTES                                                                                                $800,000,000.00
          New York, NY 10286
          LATAM 2024 Notes
                                                               LATAM 2024 Notes
          Attn: Peter Lopez
                                                               Attn: Peter Lopez
          Bank of New York Mellon, as Trustee
2                                                              PHONE: 212‐815‐8273
          240 Greenwich Street
                                                               FAX:
          7E
                                                               EMAIL: peter.lopez@bnymellon.com                    UNSECURED NOTES                                                                                                $700,000,000.00
          New York, NY 10286
          Banco Santander Chile                                Banco Santander Chile
          Attn: Maria Soledad Schuster                         Attn: Maria Soledad Schuster
3         Bandera N° 140                                       PHONE: 56 (2) 2648 3669 Anexo 83669
          Santiago,Metropolitana                               FAX:
          Chile                                                EMAIL: mariasoledad.schuster@santander.cl           FREQUENT FLIER MILES                Contingent                                                                 $549,000,000.00

          EXIM ‐ Aircraft Loan Agreement                       EXIM ‐ Aircraft Loan Agreement
          Attn: Sarah Velez                                    Attn: Sarah Velez
4         Wells Fargo Trust Company, N.A., as Agent            PHONE: 385‐415‐8024
          299 S Main Street, 5th Floor                         FAX:                                                                                   Contingent,
          Salt Lake City, UT 84111                             EMAIL: sarah.velez@wellsfargo.com                   EXIM ‐ AIRCRAFT LOAN AGREEMENT     Unliquidated                                                                $261,628,819.92

          Banco do Brasil S.A.
          Attn: Rodrigo Szabo Luiz                             Banco do Brasil S.A.
          Large Corporate 3132                                 Attn: Rodrigo Szabo Luiz
5         Rua São Carlos do Pinhal, 627 ‐ 1º subsolo (Docas)   PHONE: 55 (11) 4298‐7056; 55 (11) 99618‐9230        UNSECURED DEBT
          Bela Vista                                           FAX:
          São Paulo‐SP 01333‐001                               EMAIL: rodrigoszabo@bb.com.br
          Brazil                                                                                                                                                                                                                  $195,354,619.95
          Local Bonds, Series E
                                                               Local Bonds, Series E
          Attn: Francesca Gardella
                                                               Attn: Francesca Gardella
          Banco del Estado de Chile, as Trustee
6                                                              PHONE: 562‐2970 6210
          Avenida Libertador Bernardo O’Higgins 1111
                                                               FAX:
          Santiago,Metropolitana
                                                               EMAIL: fgarde@bancoestado.cl                        UNSECURED NOTES                                                                                                $179,030,673.32
          Chile
          Banco de Credito del Perú                            Banco de Credito del Perú
          Attn: Kristel Vasquez Guzmán                         Attn: Kristel Vasquez Guzmán
7         Calle Centenario 156                                 PHONE: 51.1.313.2000
          Lima                                                 FAX: 51.1.313.2121
          Peru                                                 EMAIL: kristelvasquezg@bcp.com.pe                   FREQUENT FLIER MILES                Contingent                                                                 $167,000,000.00
          Banco Santander Madrid
                                                               Banco Santander Madrid
          Attn: Luis Casero Ynfiesta
                                                               Attn: Luis Casero Ynfiesta
          Av. de Cantabria s/n
8                                                              PHONE: 34 91 289 72 47
          28660 Boadilla del Monte
                                                               FAX:
          Madrid
                                                               EMAIL: luis.casero@gruposantander.com               UNSECURED DEBT                                                                                                 $139,458,747.93
          Spain
          EXIM ‐ Aircraft Loan Agreement                       EXIM ‐ Aircraft Loan Agreement
          Attn: Michael Leonard                                Attn: Michael Leonard
9         Citibank, N.A., Loan Administration                  PHONE: 212‐816‐5233
          1615 Brett Road, OPS 3                               FAX:                                                                                   Contingent,
          New Castle, DE 19720                                 EMAIL: michael.leonard@citi.com                     EXIM ‐ AIRCRAFT LOAN AGREEMENT     Unliquidated                                                                $138,670,419.00

          EXIM ‐ Aircraft Loan Agreement                       EXIM ‐ Aircraft Loan Agreement
          Attn: Sarah Velez                                    Attn: Sarah Velez
10        Wells Fargo Trust Company, N.A., as Agent            PHONE: 385‐415‐8024
          299 S Main Street, 5th Floor                         FAX:                                                                                   Contingent,
          Salt Lake City, UT 84111                             EMAIL: sarah.velez@wellsfargo.com                   EXIM ‐ AIRCRAFT LOAN AGREEMENT     Unliquidated                                                                $137,451,740.00
          ECA ‐ Aircraft Loan Agreement
                                                               ECA ‐ Aircraft Loan Agreement
          Attn: Juan Suárez Romero
                                                               Attn: Juan Suárez Romero
          Banco Santander, as Agent
11                                                             PHONE: 56 2 2336 3331; 56 9 9550 3775
          Bandera 140, piso 14
                                                               FAX:                                                                                   Contingent,
          Santiago
                                                               EMAIL: juan.suarez@santander.cl                     ECA ‐ AIRCRAFT LOAN AGREEMENT      Unliquidated                                                                 $98,039,103.37
          Chile
          Local Bonds, Series A
                                                               Local Bonds, Series A
          Attn: Francesca Gardella
                                                               Attn: Francesca Gardella
          Banco del Estado de Chile, as Trustee
12                                                             PHONE: 562‐2970 6210
          Avenida Libertador Bernardo O’Higgins 1111
                                                               FAX:
          Santiago,Metropolitana
                                                               EMAIL: fgarde@bancoestado.cl                        UNSECURED NOTES                                                                                                 $89,515,336.66
          Chile
          Local Bonds, Series B
                                                               Local Bonds, Series B
          Attn: Francesca Gardella
                                                               Attn: Francesca Gardella
          Banco del Estado de Chile, as Trustee
13                                                             PHONE: 562‐2970 6210
          Avenida Libertador Bernardo O’Higgins 1111
                                                               FAX:
          Santiago,Metropolitana
                                                               EMAIL: fgarde@bancoestado.cl                        UNSECURED NOTES                                                                                                 $89,515,336.66
          Chile
          Banco Bradesco S.A.                                  Banco Bradesco S.A.
          Attn: Leon L. Albuquerque e Sousa                    Attn: Leon L. Albuquerque e Sousa
14        Av. Brigadeiro Faria Lima 3950, 9º andar             PHONE: (11) 3847‐9181; (11) 97693‐5644
          São Paulo, SP 04538‐132                              FAX:
          Brazil                                               EMAIL: leon.sousa@bradesco.com.br                   UNSECURED DEBT                                                                                                  $78,486,876.03



The information set forth herein represents the Debtors’ best efforts to identify the relevant claims, and shall not constitute an
admission of liability by, nor is it binding on, the Debtors. Furthermore, the failure to list a claim as contingent, disputed or subject
to set off shall not be a waiver of any right of the Debtors’ rights relating thereto.
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Debtor LATAM Airlines Group S.A.
                                                   Doc 1               Filed 07/09/20                                    Entered 07/09/20 02:40:01                               Main Document                               Pg
                                                                                                                                                                                                                         Case Number: 20‐11254
                                                                                                                           11 of 17
 Name of creditor and complete mailing address,                  Name, telephone number, and email address of                      Nature of the claim(for        Indicate if   Amount of unsecured claim
 including zip code                                              creditor contact                                                example, trade debts, bank        claim is     If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                loans, professional services,    contingent,    amount. If claim is partially secured, fill in total claim amount
                                                                                                                                 and government contracts)      unliquidated,   and deduction for value of collateral or setoff to calculate
                                                                                                                                                                 or disputed
                                                                                                                                                                                                                Deduction for
                                                                                                                                                                                   Total claim, if partially       value of         Unsecured
                                                                                                                                                                                           secured               collateral or        Claim
                                                                                                                                                                                                                    setoff
           Scotiabank Chile
                                                                 Scotiabank Chile
           Attn: Federico Alonso
                                                                 Attn: Federico Alonso
           Casa Matriz
 15                                                              PHONE: 416‐866‐6161
           Av Costanera Sur 2710, Torre A
                                                                 FAX:
           Santiago
                                                                 EMAIL: Federico.Alonso@scotiabank.cl                         UNSECURED DEBT                                                                                          $74,000,000.00
           Chile
           GE CELMA LTDA                                         GE CELMA LTDA
           Attn: Edgar Salazar, Volnei Vieira Esteves            Attn: Edgar Salazar, Volnei Vieira Esteves
 16        R. Alice Hervé, 356 ‐ Bingen,                         PHONE:
           Petrópolis ‐ RJ 25669‐900                             FAX:
           Brazil                                                EMAIL: edgar.salazar1@ge.com; VolneiVieira.Esteves@ge.com    TRADE DEBT                                                                                              $72,788,641.11

           EXIM ‐ Aircraft Loan Agreement                        EXIM ‐ Aircraft Loan Agreement
           Attn: Sarah Velez                                     Attn: Sarah Velez
 17        Wells Fargo Trust Company, N.A., as Agent             PHONE: 385‐415‐8024
           299 S Main Street, 5th Floor                          FAX:                                                                                            Contingent,
           Salt Lake City, UT 84111                              EMAIL: sarah.velez@wellsfargo.com                            EXIM ‐ AIRCRAFT LOAN AGREEMENT     Unliquidated                                                         $71,911,661.38
           Local Bonds, Series C
                                                                 Local Bonds, Series C
           Attn: Francesca Gardella
                                                                 Attn: Francesca Gardella
           Banco del Estado de Chile, as Trustee
 18                                                              PHONE: 562‐2970 6210
           Avenida Libertador Bernardo O’Higgins 1111
                                                                 FAX:
           Santiago,Metropolitana
                                                                 EMAIL: fgarde@bancoestado.cl                                 UNSECURED NOTES                                                                                         $66,241,349.13
           Chile
           Local Bonds, Series D
                                                                 Local Bonds, Series D
           Attn: Francesca Gardella
                                                                 Attn: Francesca Gardella
           Banco del Estado de Chile, as Trustee
 19                                                              PHONE: 562‐2970 6210
           Avenida Libertador Bernardo O’Higgins 1111
                                                                 FAX:
           Santiago,Metropolitana
                                                                 EMAIL: fgarde@bancoestado.cl                                 UNSECURED NOTES                                                                                         $66,241,349.13
           Chile
           Banco BTG Pactual Chile, as Agent
                                                                 Banco BTG Pactual Chile, as Agent
           Attn: Rodrigo Oyarzo
                                                                 Attn: Rodrigo Oyarzo
           Avenida Costanera Sur 2730
 20                                                              PHONE: 56 22 587 5027
           19th Floor
                                                                 FAX:
           Santiago,Metropolitana
                                                                 EMAIL: Rodrigo.Oyarzo@btgpactual.com                         UNSECURED DEBT                                                                                          $59,438,183.54
           Chile
           Aircraft Loan Agreement
                                                                 Aircraft Loan Agreement
           Attn: Juan Suárez Romero
                                                                 Attn: Juan Suárez Romero
           Banco Santander, as Agent
 21                                                              PHONE: 56 2 2336 3331; 56 9 9550 3775
           Bandera 140, piso 14
                                                                 FAX:                                                                                            Contingent,
           Santiago
                                                                 EMAIL: juan.suarez@santander.cl                              AIRCRAFT LOAN AGREEMENT            Unliquidated                                                         $56,696,392.63
           Chile
           Aerospace Turbine Services & Solutions
           Attn: Mansoor Janahi                                  Aerospace Turbine Services & Solutions
           Adjacent Abu Dhabi Intl Airport Turbine Services      Attn: Mansoor Janahi
 22        Building                                              PHONE: 971 (2) 5057887
           Gate Number 3                                         FAX:
           ABU DHABI                                             EMAIL: MJanahi@tssaero.ae
           UNITED ARAB EMIRATES                                                                                               TRADE DEBT                                                                                              $54,749,119.20

                                                                 American Express Travel Related Services Company, Inc
           American Express Travel Related Services Company, Inc
                                                                 Attn: Liliana Gutierrez
           Attn: Liliana Gutierrez
 23                                                              PHONE: 56 2 2783 8733
           200 Vesey Street
                                                                 FAX:
           New York, NY 10285
                                                                 EMAIL: liliana.w.gutierrez@aexp.com                          UNSECURED DEBT                                                                                          $52,511,111.00
           Banco Itaú Unibanco S.A.
           Attn: Michele do Carmo                                Banco Itaú Unibanco S.A.
           Praça Alfredo Egydio de Souza Aranha nº 100, Torre    Attn: Michele do Carmo
 24        Olavo Setubal                                         PHONE: 55 11 5029‐ 2355 ‐ Ext. 7705                          FREQUENT FLIER MILES
           Parque Jabaquara                                      FAX:
           São Paulo‐SP CEP 04344‐902                            EMAIL: michele.santo@itau‐unibanco.com.br
           Brazil                                                                                                                                                 Contingent                                                          $52,299,456.05
                                                                 World Fuel Services
           World Fuel Services
                                                                 Attn: RICHARD HOPPE
           Attn: RICHARD HOPPE
 25                                                              PHONE: 1‐305‐799‐3532
           9800 NW 41 Street, Suite 400
                                                                 FAX:
           Miami, FL 33178                                                                                                    TRADE DEBT                                                                                              $46,052,121.98
                                                                 EMAIL: RHoppe@wfscorp.com
           Banco del Estado de Chile                             Banco del Estado de Chile
           Attn: Francesca Gardella                              Attn: Francesca Gardella
 26        Avenida Libertador Bernardo O’Higgins 1111            PHONE: 562‐2970 6210
           Santiago,Metropolitana                                FAX:
           Chile                                                 EMAIL: fgarde@bancoestado.cl                                 UNSECURED DEBT                                                                                          $40,000,000.00
                                                                 BP p.l.c (Air BP)
           BP p.l.c (Air BP)
                                                                 Attn: John Platt, CEO
           Attn: John Platt, CEO
 27                                                              PHONE: 971 5 04536032
           501 Westlake Park Boulevard
                                                                 FAX: 971 4 3318628
           Houston, TX 77079                                                                                                  TRADE DEBT                                                                                              $39,882,361.95
                                                                 EMAIL: airbpoutofhours@bp.com
           EXIM ‐ Aircraft Loan Agreement                        EXIM ‐ Aircraft Loan Agreement
           Attn: Sarah Velez                                     Attn: Sarah Velez
 28        Wells Fargo Trust Company, N.A., as Agent             PHONE: 385‐415‐8024
           299 S Main Street, 5th Floor                          FAX:                                                                                            Contingent,
           Salt Lake City, UT 84111                              EMAIL: sarah.velez@wellsfargo.com                            EXIM ‐ AIRCRAFT LOAN AGREEMENT     Unliquidated                                                         $39,348,743.00

           EXIM ‐ Aircraft Loan Agreement                        EXIM ‐ Aircraft Loan Agreement
           Attn: Arnaud Drapeau                                  Attn: Arnaud Drapeau
 29        Société Générale, as Agent                            PHONE: 212‐278‐4103; 914‐434‐7016
           245 Park Avenue                                       FAX:                                                                                            Contingent,
           New York, NY 10167                                    EMAIL: arnaud.drapeau@sgcib.com                              EXIM ‐ AIRCRAFT LOAN AGREEMENT     Unliquidated                                                         $37,415,505.31

           EXIM ‐ Aircraft Loan Agreement                        EXIM ‐ Aircraft Loan Agreement
           Attn: Arnaud Drapeau                                  Attn: Arnaud Drapeau
 30        Société Générale, as Agent                            PHONE: 212‐278‐4103; 914‐434‐7016
           245 Park Avenue                                       FAX:                                                                                            Contingent,
           New York, NY 10167                                    EMAIL: arnaud.drapeau@sgcib.com                              EXIM ‐ AIRCRAFT LOAN AGREEMENT     Unliquidated                                                         $37,378,515.31
           Petróleo Brasileiro S.A.                              Petróleo Brasileiro S.A.
           Attn: RODRIGO MOTTA GUIMARES                          Attn: RODRIGO MOTTA GUIMARES
 31        200 Westlake Park Boulevard                           PHONE: 5521996474208
           Suite 1000                                            FAX:
           Houston, TX 77079                                     EMAIL: rodrigo@br‐petrobras.com.br                           TRADE DEBT                                                                                              $35,973,425.23

           EXIM ‐ Aircraft Loan Agreement                        EXIM ‐ Aircraft Loan Agreement
           Attn: Arnaud Drapeau                                  Attn: Arnaud Drapeau
 32        Société Générale, as Agent                            PHONE: 212‐278‐4103; 914‐434‐7016
           245 Park Avenue                                       FAX:                                                                                            Contingent,
           New York, NY 10167                                    EMAIL: arnaud.drapeau@sgcib.com                              EXIM ‐ AIRCRAFT LOAN AGREEMENT     Unliquidated                                                         $35,286,477.47




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Debtor LATAM Airlines Group S.A.
                                                 Doc 1                    Filed 07/09/20                                  Entered 07/09/20 02:40:01                                  Main Document                               Pg
                                                                                                                                                                                                                             Case Number: 20‐11254
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 Name of creditor and complete mailing address,                    Name, telephone number, and email address of                        Nature of the claim(for        Indicate if   Amount of unsecured claim
 including zip code                                                creditor contact                                                  example, trade debts, bank        claim is     If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                    loans, professional services,    contingent,    amount. If claim is partially secured, fill in total claim amount
                                                                                                                                     and government contracts)      unliquidated,   and deduction for value of collateral or setoff to calculate
                                                                                                                                                                     or disputed
                                                                                                                                                                                                                    Deduction for
                                                                                                                                                                                       Total claim, if partially       value of         Unsecured
                                                                                                                                                                                               secured               collateral or        Claim
                                                                                                                                                                                                                        setoff

           EXIM ‐ Aircraft Loan Agreement                          EXIM ‐ Aircraft Loan Agreement
           Attn: Arnaud Drapeau                                    Attn: Arnaud Drapeau
 33        Société Générale, as Agent                              PHONE: 212‐278‐4103; 914‐434‐7016
           245 Park Avenue                                         FAX:                                                                                              Contingent,
           New York, NY 10167                                      EMAIL: arnaud.drapeau@sgcib.com                                EXIM ‐ AIRCRAFT LOAN AGREEMENT     Unliquidated                                                         $34,039,807.66

           EXIM ‐ Aircraft Loan Agreement                          EXIM ‐ Aircraft Loan Agreement
           Attn: Sarah Velez                                       Attn: Sarah Velez
 34        Wells Fargo Trust Company, N.A., as Agent               PHONE: 385‐415‐8024
           299 S Main Street, 5th Floor                            FAX:                                                                                              Contingent,
           Salt Lake City, UT 84111                                EMAIL: sarah.velez@wellsfargo.com                              EXIM ‐ AIRCRAFT LOAN AGREEMENT     Unliquidated                                                         $31,066,204.59
           Itaú CorpBanca
                                                                   Itaú CorpBanca
           Attn: Carlos Irarrazaval
                                                                   Attn: Carlos Irarrazaval
           Avenida Presidente Riesco 5537
 35                                                                PHONE: 56961699692
           16th Floor
                                                                   FAX:
           Santiago,Metropolitana
                                                                   EMAIL: Carlos.Irarrazaval@itau.cl                              UNSECURED DEBT                                                                                          $29,857,588.21
           Chile
           Aircraft Loan Agreement
           Attn: Andrew Young Okana Nsiawi                         Aircraft Loan Agreement
           Natixis as Agent                                        Attn: Andrew Young Okana Nsiawi
 36        30, Avenue Pierre Mendes, BP 4 75060 Paris Cedex 02     PHONE: 33 (0) 1 58 32 38 36
           542 044 524 RCS Paris                                   FAX:
           Paris 75013                                             EMAIL: andrew.okana@natixis.com                                                                   Contingent,
           France                                                                                                                 AIRCRAFT LOAN AGREEMENT            Unliquidated                                                         $29,151,065.46
           RAIZEN COMBUSTIVEIS S.A.
           Attn: Leonardo Ozorio                                   RAIZEN COMBUSTIVEIS S.A.
           AV DAS AMERICAS, 4200, BL 5 (SALAS 101/701) E BL 6      Attn: Leonardo Ozorio
 37        (SALAS 101/601)                                         PHONE: 55 (21) 99174‐1677
           Bairro BARRA DA TIJUCA                                  FAX:
           Cidade Rio de Janeiro CEP 22.640‐102                    EMAIL: Leonardo.Ozorio@raizen.com
           Brazil                                                                                                                 TRADE DEBT                                                                                              $28,570,916.08
           COMANDO DA AERONAUTICA
           Attn: Major Brigadeiro do Ar Walcyr Josué de Castilho   COMANDO DA AERONAUTICA
           Araújo                                                  Attn: Major Brigadeiro do Ar Walcyr Josué de Castilho Araújo
 38        GABAER ‐ Esplanada dos Ministérios ‐ Bloco M ‐ 8º       PHONE: 55 (21) 21016205
           Andar                                                   FAX:
           Brasília, DF CEP 70.045‐900                             EMAIL: Walcyrwjca@decea.gov.br
           Brazil                                                                                                                 TRADE DEBT                                                                                              $27,989,954.10
                                                                   IAE International Aero Engines AG
           IAE International Aero Engines AG
                                                                   Attn: Florangel Gutierrez
           Attn: Florangel Gutierrez
 39                                                                PHONE:
           400 Main Street
                                                                   FAX:
           East Hartford , CT 06118                                                                                               TRADE DEBT                                                                                              $25,314,147.00
                                                                   EMAIL: florangel.gutierrez@pw.utc.com
           Aircraft Loan Agreement
           Attn: Andrew Young Okana Nsiawi                         Aircraft Loan Agreement
           Natixis as Agent                                        Attn: Andrew Young Okana Nsiawi
 40        30, Avenue Pierre Mendes, BP 4 75060 Paris Cedex 02     PHONE: 33 (0) 1 58 32 38 36
           542 044 524 RCS Paris                                   FAX:
           Paris 75013                                             EMAIL: andrew.okana@natixis.com                                                                   Contingent,
           France                                                                                                                 AIRCRAFT LOAN AGREEMENT            Unliquidated                                                         $24,693,926.48




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